                Case 23-57910-lrc                 Doc 1     Filed 08/18/23 Entered 08/18/23 09:04:59                             Desc Main
                                                            Document      Page 1 of 61

Fill in this information to identify your case:


United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                FT Medical Group LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA ID Tech Molecular Laboratories
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  777 Cleveland Ave
                                  Suite 516
                                  Atlanta, GA 30315
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fulton                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.idtechmolecular.com


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 23-57910-lrc                Doc 1          Filed 08/18/23 Entered 08/18/23 09:04:59                                 Desc Main
                                                                 Document      Page 2 of 61
Debtor    FT Medical Group LLC                                                                          Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6215

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                     proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                      Relationship
                                                 District                                  When                              Case number, if known

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                Case 23-57910-lrc               Doc 1        Filed 08/18/23 Entered 08/18/23 09:04:59                                 Desc Main
                                                             Document      Page 3 of 61
Debtor   FT Medical Group LLC                                                                      Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                Case 23-57910-lrc               Doc 1       Filed 08/18/23 Entered 08/18/23 09:04:59                                Desc Main
                                                            Document      Page 4 of 61
Debtor   FT Medical Group LLC                                                                      Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on        August 18, 2023
                                                  MM / DD / YYYY


                             X /s/       Darryle Farrar                                                    Darryle Farrar
                                 Signature of authorized representative of debtor                         Printed name

                                 Title     COO




18. Signature of attorney    X /s/ Ian Falcone                                                             Date    August 18, 2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Ian Falcone 254470
                                 Printed name

                                 The Falcone Law Firm, PC
                                 Firm name

                                 363 Lawrence St NE
                                 Marietta, GA 30060-2056
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (770) 426-9359               Email address      imf@falconefirm.com

                                 254470 GA
                                 Bar number and State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 4
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                   Desc Main
                                                                     Document      Page 5 of 61




 Fill in this information to identify the case:

 Debtor name         FT Medical Group LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           August 18, 2023                        X /s/ Darryle Farrar
                                                                       Signature of individual signing on behalf of debtor

                                                                        Darryle Farrar
                                                                       Printed name

                                                                       COO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
                    Case 23-57910-lrc                    Doc 1       Filed 08/18/23 Entered 08/18/23 09:04:59                                         Desc Main
                                                                     Document      Page 6 of 61

 Fill in this information to identify the case:
 Debtor name FT Medical Group LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                GEORGIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ADP Totalsource                                                Trade debt                                                                                              $160,217.96
 c/o Simpson Uchitel &
 Wilson
 One Ameris Center,
 Ste 1100
 3490 Piedmont Rd
 Atlanta, GA 30305
 ADP-SBS                                                        Trade debt                                                                                                $44,602.85
 c/o Leviton Law Firm
 One Pierce Place
 Suite 725W
 Itasca, IL 60143
 American Choice                                                                                                     $93,875.00                        $0.00              $93,875.00
 Capital LLC
 1413 Ave J
 3rd Floor
 Brooklyn, NY 11230
 Beckman Coulter                                                                        Disputed                     $93,484.00                        $0.00              $93,484.00
 Diagnostic Div
 Headquarters
 250 S. Kraemel Blvd
 Brea, CA 92821
 Blade Funding                                                                                                       $52,000.00                        $0.00              $52,000.00
 211 Blvd of the
 Americas
 Lakewood, NJ 08701
 BSD Capital Inc                                                                                                 $1,325,000.00                         $0.00          $1,325,000.00
 dba Lendistry
 777 S. Alameda St.,
 2nd Floor
 Los Angeles, CA
 90021
 Choice Financial Inc                                           services                                                                                                  $77,550.00
 dba The Accounting
 Doctor
 83 Wright Brothers
 Ave
 Livermore, CA 94551

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                    Case 23-57910-lrc                    Doc 1        Filed 08/18/23 Entered 08/18/23 09:04:59                                        Desc Main
                                                                      Document      Page 7 of 61


 Debtor    FT Medical Group LLC                                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 First Citizens Bank &                                                                                              $283,013.63                        $0.00            $283,013.63
 Trust Co
 PO Box 26592
 Raleigh, NC
 27611-6592
 First Citizens Bank &                                          Credit card                                                                                               $83,728.72
 Trust Co                                                       purchases
 PO Box 26592
 Raleigh, NC
 27611-6592
 Healthrecon Connect                                            Default Judgment                                                                                        $170,659.85
 LLC
 550 Reserve Ste
 Suite 190 & 250 #21
 Southlake, TX 76092
 Jant Pharmacal                                                 Trade debt                                                                                              $150,027.00
 16530 Ventura Blvd
 Ste 512
 Encino, CA 91436
 Kalmatta Capital                                               Trade debt                                                                                              $120,049.00
 80 Broad Street
 Ste 1210
 New York, NY 10004
 Lab Corp                                                       services                Disputed                                                                        $485,000.00
 531 South Spring
 Street
 Burlington, NC 27215
 Life Technologies                                              Trade debt                                                                                              $142,413.00
 Corporation
 c/o Howe Law Firm
 PC
 4385 Kimball Bridge
 Rd, Ste 100
 Alpharetta, GA 30022
 McKesson                                                                                                            $93,000.00                        $0.00              $93,000.00
 Corporation
 6651 Gate Parkway
 Jacksonville, FL
 32256
 MGI Americas Inc                                               Trade debt              Disputed                                                                        $148,991.19
 c/o Anne R Grupp,
 Esq
 1418 Carne Road,
 Ste 200
 Ojai, CA 93023
 Openloop Healthcare                                            Trade debt                                                                                                $57,271.65
 Partners PC
 c/o The Kaplan Group
 154 Addie Street
 Pismo Beach, CA
 93449



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
                    Case 23-57910-lrc                    Doc 1       Filed 08/18/23 Entered 08/18/23 09:04:59                                         Desc Main
                                                                     Document      Page 8 of 61


 Debtor    FT Medical Group LLC                                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Renasant Bank                                                                                                      $745,755.90                        $0.00            $745,755.90
 3328 Peachtree Road
 4th Floor
 Atlanta, GA 30326
 Renasant Bank                                                                                                      $498,733.00                        $0.00            $498,733.00
 3328 Peachtree Road
 4th Floor
 Atlanta, GA 30326
 Wave HDC                                                       Trade debt              Disputed                                                                        $110,731.54
 180 Main Street
 Unit 47
 Butler, NJ 07405




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
               Case 23-57910-lrc                               Doc 1              Filed 08/18/23 Entered 08/18/23 09:04:59                                                         Desc Main
                                                                                  Document      Page 9 of 61
 Fill in this information to identify the case:

 Debtor name            FT Medical Group LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,153,142.78

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,153,142.78


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        3,349,248.30


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            30,173.22

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        2,033,832.50


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,413,254.02




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                      Desc Main
                                                                     Document     Page 10 of 61
 Fill in this information to identify the case:

 Debtor name         FT Medical Group LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     First Citizens Bank                                     Checking                        8913                                       $535.98




           3.2.     Renasant BAnk                                           Checking                        8187                                       $353.28




           3.3.     Wells Fargo                                             Checking                        8744                                     $1,455.83




           3.4.     Wells Fargo                                             Checking                        5975                                     $2,400.39




           3.5.     Wells Fargo                                             Checking                        3910                                       $805.54



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                 $5,551.02
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                      Desc Main
                                                                     Document     Page 11 of 61
 Debtor           FT Medical Group LLC                                                            Case number (If known)
                  Name



        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

                    Security Deposit for Patient Service Center located at 2022 Fairburn Road, Ste D,
           7.1.     Douglasville, GA                                                                                                            $2,050.00




           7.2.     Security Deposit for Lease located at 777 Cleveland by Olympic                                                              $7,250.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment

 9.        Total of Part 2.
                                                                                                                                            $9,300.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                               598,892.65   -                          366,370.89 =....                     $232,521.76
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.
                                                                                                                                         $232,521.76
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                       Date of the last            Net book value of         Valuation method used    Current value of
                                                     physical inventory          debtor's interest         for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Testing reagents, controls,
           open array chips                                                                 Unknown                                             $1,000.00


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                Desc Main
                                                                     Document     Page 12 of 61
 Debtor         FT Medical Group LLC                                                          Case number (If known)
                Name




 23.       Total of Part 5.
                                                                                                                                      $1,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method                         Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office funiure                                                               Unknown                                         $10,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers and TVs                                                            Unknown                                           $5,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                            $15,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                Desc Main
                                                                     Document     Page 13 of 61
 Debtor         FT Medical Group LLC                                                          Case number (If known)
                Name



            General description                                               Net book value of      Valuation method used    Current value of
            Include year, make, model, and identification numbers             debtor's interest      for current value        debtor's interest
            (i.e., VIN, HIN, or N-number)                                     (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

            47.1.    2016 Infinity QX80                                                     $0.00                                       $25,000.00


            47.2.    2016 Mercedes Benz S550                                                $0.00                                       $35,000.00


            47.3.    2019 Chevrolet Suburban                                            Unknown                                         $27,000.00



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            General office equipment                                                    Unknown                                           $5,000.00


            Lab Equipment and Furniture                                                 Unknown                                        $280,770.00



 51.        Total of Part 8.
                                                                                                                                   $372,770.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
                No
                Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59         Desc Main
                                                                     Document     Page 14 of 61
 Debtor         FT Medical Group LLC                                                         Case number (If known)
                Name

                                                                                                                       Current value of
                                                                                                                       debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           ERC Refund                                                                          Tax year                         $517,000.00



 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.
                                                                                                                             $517,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 5
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
               Case 23-57910-lrc                        Doc 1           Filed 08/18/23 Entered 08/18/23 09:04:59                                         Desc Main
                                                                        Document     Page 15 of 61
 Debtor          FT Medical Group LLC                                                                               Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                             $5,551.02

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                  $9,300.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $232,521.76

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                $1,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                         $15,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $372,770.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                 $517,000.00

 91. Total. Add lines 80 through 90 for each column                                                        $1,153,142.78             + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,153,142.78




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                            page 6
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                                 Desc Main
                                                                     Document     Page 16 of 61
 Fill in this information to identify the case:

 Debtor name         FT Medical Group LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Ally Bank                                     Describe debtor's property that is subject to a lien                    $41,604.00                $27,000.00
       Creditor's Name                               2019 Chevrolet Suburban

       PO Box 380901
       Minneapolis, MN 55438
       Creditor's mailing address                    Describe the lien
                                                     car lease
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.2   American Choice Capital LLC                   Describe debtor's property that is subject to a lien                    $93,875.00                      $0.00
       Creditor's Name                               Receivables, accounts, inventory, equipment
       1413 Ave J
       3rd Floor
       Brooklyn, NY 11230
       Creditor's mailing address                    Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       6.21.2023                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 9
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                            Desc Main
                                                                     Document     Page 17 of 61
 Debtor       FT Medical Group LLC                                                                     Case number (if known)
              Name



 2.3   ASSN Company                                  Describe debtor's property that is subject to a lien                        Unknown             $0.00
       Creditor's Name                               All accounts of Debtor

       PO Box 2575
       Springfield, IL 62708
       Creditor's mailing address                    Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       10/21/2022                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.4   Beckman Coulter                               Describe debtor's property that is subject to a lien                       $93,484.00           $0.00
       Creditor's Name                               2 Lab instruments, Reagents and supplies
       Diagnostic Div Headquarters
       250 S. Kraemel Blvd
       Brea, CA 92821
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.5   Blade Funding                                 Describe debtor's property that is subject to a lien                       $52,000.00           $0.00
       Creditor's Name                               all assets

       211 Blvd of the Americas
       Lakewood, NJ 08701
       Creditor's mailing address                    Describe the lien
                                                     Judgment Lien
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
          No                                            Contingent
          Yes. Specify each creditor,


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 9
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                             Desc Main
                                                                     Document     Page 18 of 61
 Debtor       FT Medical Group LLC                                                                     Case number (if known)
              Name

       including this creditor and its relative          Unliquidated
       priority.                                         Disputed




 2.6   BSD Capital Inc                               Describe debtor's property that is subject to a lien                   $1,325,000.00             $0.00
       Creditor's Name                               Accounts, inventory, receivables
       dba Lendistry
       777 S. Alameda St., 2nd
       Floor
       Los Angeles, CA 90021
       Creditor's mailing address                    Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       3.1.2023                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0040
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.7   CT Corp System                                Describe debtor's property that is subject to a lien                         Unknown             $0.00
       Creditor's Name                               Accounts, accounts receivable, inventory
       330 N. Brand Blvd, Ste 700
       ATTN SPRS
       Glendale, CA 91203
       Creditor's mailing address                    Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       9/14/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




       First Citizens Bank & Trust
 2.8
       Co                                            Describe debtor's property that is subject to a lien                       $283,013.63           $0.00
       Creditor's Name                               MGISTP3000RS, OT-2 Robot, Necleic Acid
                                                     Purification System
       PO Box 26592
       Raleigh, NC 27611-6592
       Creditor's mailing address                    Describe the lien
                                                     Equipment lease
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       2/9/2022                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 9
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                            Desc Main
                                                                     Document     Page 19 of 61
 Debtor       FT Medical Group LLC                                                                     Case number (if known)
              Name

       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.9   First Corp Solutions                          Describe debtor's property that is subject to a lien                        Unknown             $0.00
       Creditor's Name                               Accounts including credit card receivables

       914 S. Street
       Sacramento, CA 95811
       Creditor's mailing address                    Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       11/29/2022                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 0     McKesson Corporation                          Describe debtor's property that is subject to a lien                       $93,000.00           $0.00
       Creditor's Name                               All assets of the Debtor wherever located
                                                     1st priority
       6651 Gate Parkway
       Jacksonville, FL 32256
       Creditor's mailing address                    Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       5/18/2020                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




 2.1   Nowaccount Network
 1     Corporation                                   Describe debtor's property that is subject to a lien                           $0.00            $0.00
       Creditor's Name                               accounts, deposit accounts
       800 Battery Ave Se
       Suite 100
       Atlanta, GA 30339
       Creditor's mailing address                    Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 4 of 9
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                            Desc Main
                                                                     Document     Page 20 of 61
 Debtor       FT Medical Group LLC                                                                     Case number (if known)
              Name

                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       9/30/2020                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 2     Pinnacle Credit Union                         Describe debtor's property that is subject to a lien                       $17,061.00    $25,000.00
       Creditor's Name                               2016 Infinity QX80

       536 North Ave
       Atlanta, GA 30308
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       3/2020                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       510
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 3     PNC Bank                                      Describe debtor's property that is subject to a lien                       $34,112.00    $35,000.00
       Creditor's Name                               2016 Mercedes Benz S550

       PO Box 747066
       Pittsburg, PA
       Creditor's mailing address                    Describe the lien
                                                     car note
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       4/17                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 4     Renasant Bank                                 Describe debtor's property that is subject to a lien                       $29,337.35           $0.00
       Creditor's Name                               all assets wherever located
       3328 Peachtree Road

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 5 of 9
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                             Desc Main
                                                                     Document     Page 21 of 61
 Debtor       FT Medical Group LLC                                                                     Case number (if known)
              Name

       4th Floor
       Atlanta, GA 30326
       Creditor's mailing address                    Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       8/11/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1353
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 5     Renasant Bank                                 Describe debtor's property that is subject to a lien                       $745,755.90           $0.00
       Creditor's Name
       3328 Peachtree Road
       4th Floor
       Atlanta, GA 30326
       Creditor's mailing address                    Describe the lien
                                                     Loan
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1352
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.



 2.1
 6     Renasant Bank                                 Describe debtor's property that is subject to a lien                       $498,733.00           $0.00
       Creditor's Name
       3328 Peachtree Road
       4th Floor
       Atlanta, GA 30326
       Creditor's mailing address                    Describe the lien
                                                     Loan
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1354
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 6 of 9
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
               Case 23-57910-lrc                    Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                              Desc Main
                                                                     Document     Page 22 of 61
 Debtor       FT Medical Group LLC                                                                     Case number (if known)
              Name



 2.1    Thermo Fisher Financial
 7      Services Inc                                 Describe debtor's property that is subject to a lien                        $12,192.42                 $0.00
        Creditor's Name                              QS5 384W PCR Analyzer-LEASE $2032.07
                                                     monthly
        168 Third Ave
        Waltham, MA 02451
        Creditor's mailing address                   Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
        12/1/2020                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.



 2.1
 8      Ultra Funding                                Describe debtor's property that is subject to a lien                        $30,080.00                 $0.00
        Creditor's Name                              Accounts receivables, deposit accounts,
        50 Merrick Road,                             inventory, equipment
        Suite 203
        Rockville Centre, NY 11570
        Creditor's mailing address                   Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.




                                                                                                                                $3,349,248.3
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                          0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity
         Beckman Coulter
         5350 Lakeview Parkway                                                                                  Line   2.4
         Suite A
         Indianapolis, IN 46268



Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 7 of 9
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59       Desc Main
                                                                     Document     Page 23 of 61
 Debtor       FT Medical Group LLC                                                      Case number (if known)
              Name

        BSD Capital dba Lendistry
        1735 Flight Way                                                                         Line   2.6
        Suite 450.
         San Clemente, CA 92762

        CSC
        801 Adlai Stevenson Drive                                                               Line   2.18
        Springfield, IL 62703

        CSC
        801 Adlai Stevenson Drive                                                               Line   2.3
        Springfield, IL 62703

        David Holcomb
        900 Old Roswell Lakes Pkwy                                                              Line   2.2
        Ste 310
        Roswell, GA 30076

        Erica Gilerman, Esq
        515 Madison Ave, Ste 8108                                                               Line   2.2
        New York, NY 10022

        Gravity Auto Roswell
        11170 Alpharetta HWY                                                                    Line   2.13
        Roswell, GA 30076

        Katie Deriso
        Nelson Mullins Riley & Scarborough                                                      Line   2.14
        201. 17th Street, Ste 1700

        Atlanta, GA 30363

        Lien Solutions
        PO Box 29071                                                                            Line   2.6
        Glendale, CA 91209

        Lien Solutions
        PO Box 29071                                                                            Line   2.7
        Glendale, CA 91209

        Life Technologies
        Lagunilla, Heredia                                                                      Line   2.17
        Building #3
        Costa Rica

        Life Technologies
        12088 Collections Center Dr                                                             Line   2.17
        Chicago, IL 60693

        McKesson inc
        6555 State Highway 161                                                                  Line   2.10
        Irving, TX

        Pinnacle Credit Union
        PO Box 17649                                                                            Line   2.12
        Atlanta, GA 30316

        The Klein Law Firm LLC
        PO Box 714                                                                              Line   2.5
        Lakewood, NJ 08701




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property               page 8 of 9
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                        Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59       Desc Main
                                                                     Document     Page 24 of 61
 Debtor       FT Medical Group LLC                                                      Case number (if known)
              Name

        Ultra Funding
        1411 Carroll Street                                                                     Line   2.18
        Brooklyn, NY 11213




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property               page 9 of 9
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                        Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                                Desc Main
                                                                     Document     Page 25 of 61
 Fill in this information to identify the case:

 Debtor name         FT Medical Group LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                          $480.57         $480.57
           Carla Martin                                              Check all that apply.
                                                                        Contingent
           6770 Buffington Rd
                                                                        Unliquidated
           Apt 301
                                                                        Disputed
           Union City, GA 30291
           Date or dates debt was incurred                           Basis for the claim:
           as of8/16/2023                                            unpaid wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (4)                       Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $1,133.00          $1,133.00
           Cireese Benson                                            Check all that apply.
                                                                        Contingent
           135 Weeping Willow Way
                                                                        Unliquidated
           Tyrone, GA 30290
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           as of 8/16                                                unpaid wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (4)                       Yes


 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $4,167.43          $4,167.43
           Donna Werner                                              Check all that apply.
                                                                        Contingent
           3069 Highway 138
                                                                        Unliquidated
           Monroe, GA 30655
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           as of 8/16                                                unpaid wages
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (4)                       Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 1 of 10
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                            Desc Main
                                                                     Document     Page 26 of 61
 Debtor       FT Medical Group LLC                                                                            Case number (if known)
              Name

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $5,345.25    $5,345.25
          Ehjayson Henry                                             Check all that apply.
                                                                        Contingent
          106 Barts Drive
                                                                        Unliquidated
          Atlanta, GA 30309
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          as of 8/16                                                 unpaid wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $2,696.94    $2,696.94
          Fonda Armstrong                                            Check all that apply.
                                                                        Contingent
          3491 Cherry Blossom Court
                                                                        Unliquidated
          Loganville, GA 30052
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          as of 8/16                                                 unpaid wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,596.31    $1,596.31
          Iniobong Archibong                                         Check all that apply.
                                                                        Contingent
          8419 Willows Way
                                                                        Unliquidated
          Riverdale, GA 30274
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          as of 8/16                                                 unpaid wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $2,211.86    $2,211.86
          Kierra Benjamin                                            Check all that apply.
                                                                        Contingent
          280 Franklin Farms Circle
                                                                        Unliquidated
          Barnesville, GA 30204
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          as of 8/16/2023                                            unpaid wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $1,004.22    $1,004.22
          Myeiasha Weaver                                            Check all that apply.
                                                                        Contingent
          3201 Downwood Circle
                                                                        Unliquidated
          Atlanta, GA 30337
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          as of 8/16                                                 unpaid wages
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                            No
          unsecured claim: 11 U.S.C. § 507(a) (4)                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 2 of 10
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
               Case 23-57910-lrc                    Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                                   Desc Main
                                                                     Document     Page 27 of 61
 Debtor        FT Medical Group LLC                                                                           Case number (if known)
               Name

 2.9        Priority creditor's name and mailing address             As of the petition filing date, the claim is:                           $2,396.83        $2,396.83
            Natalie Miliam                                           Check all that apply.
                                                                        Contingent
            2800 Camp Creek Parkway
                                                                        Unliquidated
            JO8
                                                                        Disputed
            College Park, GA 30037
            Date or dates debt was incurred                          Basis for the claim:
            as of 8/16                                               unpaid wages
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a) (4)                      Yes


 2.10       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                           $4,122.14        $4,122.14
            PaDreyia Wood                                            Check all that apply.
                                                                        Contingent
            4694 Mason Road
                                                                        Unliquidated
            South Fulton, GA 30349
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
            as of 8/16                                               unpaid wages
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a) (4)                      Yes


 2.11       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                           $2,331.03        $2,331.03
            Scott Loden                                              Check all that apply.
                                                                        Contingent
            1113 Wood Creek Trail
                                                                        Unliquidated
            Roswell, GA 30076
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
            as of 8/16                                               unpaid wages
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a) (4)                      Yes


 2.12       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                           $2,687.64        $2,687.64
            Travisha Taylor                                          Check all that apply.
                                                                        Contingent
            5843 Three Lakes Drive
                                                                        Unliquidated
            College Park, GA 30349
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
            as of 8/16                                               unpaid wages
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                          No
            unsecured claim: 11 U.S.C. § 507(a) (4)                      Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 10
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                                      Desc Main
                                                                     Document     Page 28 of 61
 Debtor       FT Medical Group LLC                                                                    Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $160,217.96
          ADP Totalsource
          c/o Simpson Uchitel & Wilson
          One Ameris Center, Ste 1100
                                                                                Contingent
          3490 Piedmont Rd                                                      Unliquidated
          Atlanta, GA 30305                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44,602.85
          ADP-SBS
          c/o Leviton Law Firm
          One Pierce Place
                                                                                Contingent
          Suite 725W                                                            Unliquidated
          Itasca, IL 60143                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number QzWA                               Is the claim subject to offset?      No         Yes


 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,898.00
          American Express
                                                                                Contingent
          PO Box 981535                                                         Unliquidated
          El Paso, TX 79998                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card purchases
          Last 4 digits of account number 1007                               Is the claim subject to offset?      No         Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,115.00
          American Express
                                                                                Contingent
          PO Box 981535                                                         Unliquidated
          El Paso, TX 79998                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card purchases
          Last 4 digits of account number 2007                               Is the claim subject to offset?      No         Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,100.00
          American Express
                                                                                Contingent
          PO Box 981535                                                         Unliquidated
          El Paso, TX 79998                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card purchases
          Last 4 digits of account number 7542                               Is the claim subject to offset?      No         Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,140.00
          American Proficiency
                                                                                Contingent
          1159 Business Park Drive                                              Unliquidated
          Traverse City, MI 49686                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,000.00
          Arkstone
          135 Rockaway Turnpike
                                                                                Contingent
          Ste 111                                                               Unliquidated
          Lawrence, NY 11559                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 10
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                                      Desc Main
                                                                     Document     Page 29 of 61
 Debtor       FT Medical Group LLC                                                                    Case number (if known)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,930.71
          Biomedix Lab
          3803 Parkwood Blvd
                                                                                Contingent
          Ste 400                                                               Unliquidated
          Frisco, TX 75034                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,520.00
          Chaiken Ghali LLP
          One Atlantic Center
          1201 Peachtree Street
                                                                                Contingent
          Suite 2300                                                            Unliquidated
          Atlanta, GA 30309                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: legal fees
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $77,550.00
          Choice Financial Inc
          dba The Accounting Doctor
                                                                                Contingent
          83 Wright Brothers Ave                                                Unliquidated
          Livermore, CA 94551                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Cliniprops
                                                                                Contingent
          2202 Fairburn Road                                                    Unliquidated
          Douglasville, GA 30135                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Lease for Patient Service Center
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $83,728.72
          First Citizens Bank & Trust Co
                                                                                Contingent
          PO Box 26592                                                          Unliquidated
          Raleigh, NC 27611-6592                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card purchases
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $170,659.85
          Healthrecon Connect LLC
          550 Reserve Ste
                                                                                Contingent
          Suite 190 & 250 #21                                                   Unliquidated
          Southlake, TX 76092                                                   Disputed
          Date(s) debt was incurred 1/2020                                   Basis for the claim: Default Judgment
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,572.96
          Integra
                                                                                Contingent
          22 Friars Drive                                                       Unliquidated
          Hudson, NH 03051                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: supplies
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 10
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                                      Desc Main
                                                                     Document     Page 30 of 61
 Debtor       FT Medical Group LLC                                                                    Case number (if known)
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $150,027.00
          Jant Pharmacal
          16530 Ventura Blvd
                                                                                Contingent
          Ste 512                                                               Unliquidated
          Encino, CA 91436                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $120,049.00
          Kalmatta Capital
          80 Broad Street
                                                                                Contingent
          Ste 1210                                                              Unliquidated
          New York, NY 10004                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $485,000.00
          Lab Corp
                                                                                Contingent
          531 South Spring Street                                               Unliquidated
          Burlington, NC 27215                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $377.64
          LEAF
                                                                                Contingent
          PO Box 5066                                                           Unliquidated
          Hartford, CT 06102                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,581.80
          Legal Partners Group Llc
          134 North LasSalle Street
                                                                                Contingent
          Ste 800                                                               Unliquidated
          Chicago, IL 60602                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: E-Document services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $142,413.00
          Life Technologies Corporation
          c/o Howe Law Firm PC
                                                                                Contingent
          4385 Kimball Bridge Rd, Ste 100                                       Unliquidated
          Alpharetta, GA 30022                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,500.00
          LIMS ABC
          500 East Broward Blvd
                                                                                Contingent
          Ste 1710                                                              Unliquidated
          Fort Lauderdale, FL 33394                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim: Contract- Lab information system
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 6 of 10
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                                      Desc Main
                                                                     Document     Page 31 of 61
 Debtor       FT Medical Group LLC                                                                    Case number (if known)
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,405.00
          Med Supply
                                                                                Contingent
          33333 Dequindre Road                                                  Unliquidated
          Troy, MI 48083                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim: Supplies
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,305.11
          Mercedes Scientific
                                                                                Contingent
          1221 Rangeland Pkwy                                                   Unliquidated
          Lakewood, FL 34211                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $148,991.19
          MGI Americas Inc
          c/o Anne R Grupp, Esq
                                                                                Contingent
          1418 Carne Road, Ste 200                                              Unliquidated
          Ojai, CA 93023                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $560.00
          Microscope Service Incorp
          260 Manning Road SW
                                                                                Contingent
          Unit 144                                                              Unliquidated
          Marietta, GA 30064                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,000.00
          MSN
          5314 16th Ave
                                                                                Contingent
          Ste 139                                                               Unliquidated
          Brooklyn, NY 11219                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt-MCA
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,654.29
          Nyppon
                                                                                Contingent
          PO Box 25951                                                          Unliquidated
          Shawnee Mission, KS 66225                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Olymbec USA LLC
          2400 Herodian Way
                                                                                Contingent
          Suite 20                                                              Unliquidated
          Smyrna, GA 30080                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Lease-property
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 7 of 10
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                                      Desc Main
                                                                     Document     Page 32 of 61
 Debtor       FT Medical Group LLC                                                                    Case number (if known)
              Name

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,900.00
          Open Text
          2440 Sand Hill Rd
                                                                                Contingent
          Suite 302                                                             Unliquidated
          Menlo Park, CA 94025                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Contract- PCC interface
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $57,271.65
          Openloop Healthcare Partners PC
          c/o The Kaplan Group
                                                                                Contingent
          154 Addie Street                                                      Unliquidated
          Pismo Beach, CA 93449                                                 Disputed
          Date(s) debt was incurred 11/2021                                  Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,150.00
          Pharmozyne
          1206 Mountain View-Alviso road
                                                                                Contingent
          Ste B                                                                 Unliquidated
          Sunnyvale, CA 94089                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Priority Toxicology
                                                                                Contingent
          6781 Londonderry Way                                                  Unliquidated
          Union City, GA 30291                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,510.73
          Promega
                                                                                Contingent
          2800 Woods Hollow Rd                                                  Unliquidated
          Madison, WI 53711                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $201.00
          Randox
          55 Diamond Rd
                                                                                Contingent
          Crumlin, County Antrim, BT29 4QY                                      Unliquidated
          United Kingdom                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,350.00
          Safety Plus
                                                                                Contingent
          PO Box 2549                                                           Unliquidated
          Chattanooga, TN 37409                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim: services
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 8 of 10
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                                      Desc Main
                                                                     Document     Page 33 of 61
 Debtor       FT Medical Group LLC                                                                    Case number (if known)
              Name

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          Shadowbox
          1596 North Coast Highway
                                                                                Contingent
          Ste 101                                                               Unliquidated
          Encinitas, CA 92024                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Contract for EMR interface
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,808.65
          Southern Region Medical Center
                                                                                Contingent
          11 Upper Riverdale Road                                               Unliquidated
          Riverdale, GA 30274                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,394.06
          Staples Business Credit
                                                                                Contingent
          POBox 105638                                                          Unliquidated
          Atlanta, GA 30348                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card purchases
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,384.81
          Thomas Scientific
                                                                                Contingent
          PO Box 99                                                             Unliquidated
          Swedesboro, NJ 08085                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          TruMed
          17250 Dallas Parkway
                                                                                Contingent
          Suite 244                                                             Unliquidated
          Dallas, TX 75248                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Contract-Lab information system
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,229.98
          ULine
                                                                                Contingent
          12575 ULine Drive                                                     Unliquidated
          Pleasant Prairie, WI 53158                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               Unknown
          US Attorney's Office-NDGA
                                                                                Contingent
          75 Ted Turner Drive #600                                              Unliquidated
          Atlanta, GA 30303                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim: Potential Claim
          Last 4 digits of account number NDGA                               Is the claim subject to offset?      No         Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $110,731.54
          Wave HDC
          180 Main Street
                                                                                Contingent
          Unit 47                                                               Unliquidated
          Butler, NJ 07405                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 9 of 10
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
               Case 23-57910-lrc                    Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                                   Desc Main
                                                                     Document     Page 34 of 61
 Debtor        FT Medical Group LLC                                                                Case number (if known)
               Name


 Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

            Name and mailing address                                                               On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                   related creditor (if any) listed?               account number, if
                                                                                                                                                   any
 4.1        Berkovitch & Bouskila LLC
            1545 US 202                                                                            Line     3.16
            Pomona, NY 10970
                                                                                                          Not listed. Explain

 4.2        Cook Keith & Davis
            ATTN Matt Jenkins                                                                      Line     3.13
            6688 North Central Expressway
                                                                                                          Not listed. Explain
            Suite 100

            Dallas, TX 75206

 4.3        Olymbec
            333 Decarie, 5th Floor                                                                 Line     3.28
            St. Laurent, Quebec
                                                                                                          Not listed. Explain
            Canada

 4.4        Openloop Healthcare Partners
            317 6th Ave                                                                            Line     3.30
            Suite 400
                                                                                                          Not listed. Explain
            Des Moines, IA 50309

 4.5        SRVH
            150 3rd Ave South                                                                      Line     3.13
            Suite 1100
                                                                                                          Not listed. Explain
            Nashville, TN 37201


 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts
 5a. Total claims from Part 1                                                                         5a.          $                     30,173.22
 5b. Total claims from Part 2                                                                         5b.    +     $                  2,033,832.50

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                           5c.          $                    2,064,005.72




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 10 of 10
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                    Desc Main
                                                                     Document     Page 35 of 61
 Fill in this information to identify the case:

 Debtor name         FT Medical Group LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   777 Cleveland ave
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 May 31, 2025                Olymbec USA LLC
                                                                                      2400 Herodian Way
             List the contract number of any                                          Suite 20
                   government contract                                                Smyrna, GA 30080


 2.2.        State what the contract or                   Lease space for Patient
             lease is for and the nature of               Service Center located at
             the debtor's interest                        2022 Fairburn rd, Ste D,
                                                          Douglasville, GA 30135
                 State the term remaining                 May 4, 2026
                                                                                      Cliniprops
             List the contract number of any                                          2202 Fairburn Road
                   government contract                                                Douglasville, GA 30135


 2.3.        State what the contract or                   QS 5 PCR Analyzer
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                      Thermo Fisher Financial Services Inc
             List the contract number of any                                          168 Third Ave
                   government contract                                                Waltham, MA 02451


 2.4.        State what the contract or                   2 Lab Instruments,
             lease is for and the nature of               reagents and supplies
             the debtor's interest

                 State the term remaining                                             Beckman Coulter
                                                                                      Diagnostic Div Headquarters
             List the contract number of any                                          250 S. Kraemel Blvd
                   government contract                                                Brea, CA 92821




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59               Desc Main
                                                                     Document     Page 36 of 61
 Debtor 1 FT Medical Group LLC                                                                 Case number (if known)
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   EMR Interface solution
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                              Shadowbox
                                                                                       1596 North Coast Highway
             List the contract number of any                                           Ste 101
                   government contract                                                 Encinitas, CA 92024


 2.6.        State what the contract or                   Lab information system
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                              TruMed
                                                                                       17250 Dallas Parkway
             List the contract number of any                                           Suite 244
                   government contract                                                 Dallas, TX 75248


 2.7.        State what the contract or                   Lab Information system
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                              LIMS ABC
                                                                                       500 East Broward Blvd
             List the contract number of any                                           Ste 1710
                   government contract                                                 Fort Lauderdale, FL 33394


 2.8.        State what the contract or                   Reagent contract
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       McKesson Corporation
             List the contract number of any                                           6651 Gate Parkway
                   government contract                                                 Jacksonville, FL 32256


 2.9.        State what the contract or                   PCC interface
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                              Open Text
                                                                                       2440 Sand Hill Rd
             List the contract number of any                                           Suite 302
                   government contract                                                 Menlo Park, CA 94025




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                Desc Main
                                                                     Document     Page 37 of 61
 Fill in this information to identify the case:

 Debtor name         FT Medical Group LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                    Name                          Check all schedules
                                                                                                                                that apply:
             Business Solution                 950 Marietta Street                                First Corp Solutions              D   2.9
    2.10     Services LLC                      Unit 2107                                                                            E/F
                                               Atlanta, GA 30318                                                                    G
                                               former LLC of Debtor's principal-Admin.
                                               Dissolved



             Community                         882 B Martin Luther King Drive                     First Corp Solutions              D   2.9
    2.11     Clinical Servics                  Atlanta, GA 30314                                                                    E/F
             LLC                               former LLC of principals- Admin. Dissolved                                           G



             D Tech Molecular                  777 Cleveland Ave                                  ASSN Company                      D   2.3
    2.12     Labs                              Ste 516                                                                              E/F
                                               Atlanta, GA 30315                                                                    G




             Darryle Farrar                    6112 Troon Way                                     ASSN Company                      D   2.3
    2.13                                       Douglasville, GA 30135                                                               E/F
                                                                                                                                    G



             Darryle Farrar                    6112 Troon Way                                     First Corp Solutions              D   2.9
    2.14                                       Douglasville, GA 30135                                                               E/F
                                                                                                                                    G



             Darryle Farrar                    6112 Troon Way                                     BSD Capital Inc                   D   2.6
    2.15                                       Douglasville, GA 30135                                                               E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 5
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59             Desc Main
                                                                     Document     Page 38 of 61
 Debtor       FT Medical Group LLC                                                           Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor

             Darryle Farrar                    6112 Troon Way                                     American Choice            D   2.2
    2.16                                       Douglasville, GA 30135                             Capital LLC                E/F
                                                                                                                             G



             Darryle Farrar                    6112 Troon Way                                     PNC Bank                   D   2.13
    2.17                                       Douglasville, GA 30135                                                        E/F
                                                                                                                             G



             Darryle Farrar                    6112 Troon Way                                     Pinnacle Credit Union      D   2.12
    2.18                                       Douglasville, GA 30135                                                        E/F
                                                                                                                             G



             Darryle Farrar                    6112 Troon Way                                     Blade Funding              D   2.5
    2.19                                       Douglasville, GA 30135                                                        E/F
                                                                                                                             G



             DNG Groceries                     777 Cleveland Ave                                  First Corp Solutions       D   2.9
    2.20     LLC                               Ste 516                                                                       E/F
                                               Atlanta, GA 30315                                                             G
                                               former LLC of Debtors principals-Dissolved



             DNG Groceries                     777 Cleveland Ave                                  Blade Funding              D   2.5
    2.21     LLC                               Ste 516                                                                       E/F
                                               Atlanta, GA 30315                                                             G
                                               former LLC of Debtors principals-Dissolved



             D-Tech Molecular                  777 Cleveland Ave                                  CT Corp System             D   2.7
    2.22     Labs                              Suite 516                                                                     E/F
                                               Atlanta, GA 30354                                                             G




             D-Tech Molecular                  777 Cleveland Ave                                  First Corp Solutions       D   2.9
    2.23     Labs                                                                                                            E/F
                                               Atlanta, GA 30354                                                             G




             FT Molecular                      1001 Virgina Ave                                   First Corp Solutions       D   2.9
    2.24     Diagnostics LLC                   Ste 360                                                                       E/F
                                               Atlanta, GA 30354                                                             G




Official Form 206H                                                            Schedule H: Your Codebtors                            Page 2 of 5
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59           Desc Main
                                                                     Document     Page 39 of 61
 Debtor       FT Medical Group LLC                                                           Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor

             FT Molecular                      1001 Virgina Ave                                   Healthrecon Connect      D
    2.25     Diagnostics LLC                   Ste 360                                            LLC                      E/F       3.13
                                               Atlanta, GA 30354                                                           G




             FT Molecular                      1001 Virgina Ave                                   Blade Funding            D   2.5
    2.26     Diagnostics LLC                   Ste 360                                                                     E/F
                                               Atlanta, GA 30354                                                           G




             ID Tech Molecular                 777 Cleveland Ave                                  ASSN Company             D   2.3
    2.27                                       Ste 516                                                                     E/F
                                               Atlanta, GA 30315                                                           G




             ID Tech Molecular                 777 Cleveland Ave                                  Blade Funding            D   2.5
    2.28                                       Ste 516                                                                     E/F
                                               Atlanta, GA 30315                                                           G




             ID Tech Molecular                 777 Cleveland Ave                                  ASSN Company             D   2.3
    2.29     Lab                               Ste 516                                                                     E/F
                                               Atlanta, GA 30315                                                           G




             ID Tech Molecular                 777 Cleveland Ave                                  ASSN Company             D   2.3
    2.30     Laboratories                      Ste 516                                                                     E/F
                                               Atlanta, GA 30315                                                           G




             ID Tech Molecular                 777 Cleveland Ave                                  ASSN Company             D   2.3
    2.31     Laboratory                        Ste 516                                                                     E/F
                                               Atlanta, GA 30315                                                           G




             ID Tech Molecular                 777 Cleveland Ave                                  Healthrecon Connect      D
    2.32     Laboratory                        Ste 516                                            LLC                      E/F       3.13
                                               Atlanta, GA 30315                                                           G




Official Form 206H                                                            Schedule H: Your Codebtors                             Page 3 of 5
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                               Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59            Desc Main
                                                                     Document     Page 40 of 61
 Debtor       FT Medical Group LLC                                                           Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor

             ID-Tech Molecular                 777 Cleveland Ave                                  ASSN Company              D   2.3
    2.33                                       Ste 516                                                                      E/F
                                               Atlanta, GA 30315                                                            G




             Lab Genius Inc                    777 Cleveland Ave                                  First Corp Solutions      D   2.9
    2.34                                                                                                                    E/F
                                                                                                                            G
                                               Atlanta, GA 30315
                                               Corp owned by Debtor's principal and others



             Lab Genius Inc                    777 Cleveland Ave                                  Blade Funding             D   2.5
    2.35                                                                                                                    E/F
                                                                                                                            G
                                               Atlanta, GA 30315
                                               Corp owned by Debtor's principal and others



             Market Collective                 4860 Promenade Drive                               First Corp Solutions      D   2.9
    2.36     Group LLC                         Atlanta, GA 30331                                                            E/F
                                               former LLC of Debtor principal- Admin.                                       G
                                               Dissolved



             Market Collective                 4860 Promenade Drive                               Blade Funding             D   2.5
    2.37     Group LLC                         Atlanta, GA 30331                                                            E/F
                                               former LLC of Debtor principal- Admin.                                       G
                                               Dissolved



             Medforce LLC                      1725 Marietta Rd                                   First Corp Solutions      D   2.9
    2.38                                       Atlanta, GA 30318                                                            E/F
                                               former LLC of Debtor's principal- Admin                                      G
                                               Dissolved



             MedForce LLC                      777 Cleveland Ave                                  ASSN Company              D   2.3
    2.39                                       Ste 516                                                                      E/F
                                               Atlanta, GA 30315                                                            G
                                               former LLC of Debtor's principal- Admin.
                                               Dissolved



             MedForce LLC                      777 Cleveland Ave                                  Blade Funding             D   2.5
    2.40                                       Ste 516                                                                      E/F
                                               Atlanta, GA 30315                                                            G
                                               former LLC of Debtor's principal- Admin.
                                               Dissolved




Official Form 206H                                                            Schedule H: Your Codebtors                           Page 4 of 5
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59            Desc Main
                                                                     Document     Page 41 of 61
 Debtor       FT Medical Group LLC                                                           Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor

             New South                         777 Cleveland Ave                                  ASSN Company              D   2.3
    2.41     Research SMO                      Ste 516                                                                      E/F
             LLC                               Atlanta, GA 30315                                                            G
                                               Admin. Dissolved



             New South                         882 B. Martin Luther King Jr Dr                    First Corp Solutions      D   2.9
    2.42     Research SMO                      Atlanta, GA 30314                                                            E/F
             LLC                               Admin. Dissolved                                                             G



             Nile B. Thompson                  6067 Kingston Drive                                First Corp Solutions      D   2.9
    2.43                                       Douglasville, GA 30135                                                       E/F
                                                                                                                            G



             Nile B. Thompson                  6067 Kingston Drive                                BSD Capital Inc           D   2.6
    2.44                                       Douglasville, GA 30135                                                       E/F
                                                                                                                            G



             Nile B. Thompson                  6067 Kingston Drive                                American Choice           D   2.2
    2.45                                       Douglasville, GA 30135                             Capital LLC               E/F
                                                                                                                            G



             Nile B. Thompson                  6067 Kingston Drive                                Ally Bank                 D   2.1
    2.46                                       Douglasville, GA 30135                                                       E/F
                                                                                                                            G



             The Nutrition                     777 Cleveland Ave                                  First Corp Solutions      D   2.9
    2.47     Group LLC                         Atlanta, GA 30315                                                            E/F
                                               Admin Dissolved                                                              G



             The Nutrition                     777 Cleveland Ave                                  Blade Funding             D   2.5
    2.48     Group LLC                         Atlanta, GA 30315                                                            E/F
                                               Admin Dissolved                                                              G




Official Form 206H                                                            Schedule H: Your Codebtors                           Page 5 of 5
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                      Desc Main
                                                                     Document     Page 42 of 61



 Fill in this information to identify the case:

 Debtor name         FT Medical Group LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                     $1,673,253.00
       From 01/01/2023 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                   $16,549,164.04
       From 01/01/2022 to 12/31/2022
                                                                                                   Other


       For year before that:                                                                       Operating a business                   $10,086,442.00
       From 01/01/2021 to 12/31/2021
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                            Desc Main
                                                                     Document     Page 43 of 61
 Debtor       FT Medical Group LLC                                                                      Case number (if known)




          None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.                                                                                                                      Secured debt
               Renasant Bank                                               May 2023                           $7,928.00
               3328 Peachtree Road                                                                                               Unsecured loan repayments
               4th Floor                                                                                                         Suppliers or vendors
                                                                                                                                 Services
               Atlanta, GA 30326
                                                                                                                                 Other

       3.2.                                                                                                                      Secured debt
               First Citizens Bank & Trust Co                              MAy 2023                           $6,973.00
               PO Box 26592                                                                                                      Unsecured loan repayments
               Raleigh, NC 27611-6592                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.3.                                                                                                                      Secured debt
               Blade Funding                                               May, June                        $10,000.00
                                                                           and July 2023                                         Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.4.                                                                                                                      Secured debt
               Kalmatta Capital                                            June and                         $15,600.00
                                                                           July. 2023                                            Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.5.                                                                                                                      Secured debt
               Ultra Funding                                               July 2023                            $500.00
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.6.                                                                                                                      Secured debt
               ADP-SBS                                                     May 2023                        $120,559.92
               c/o Leviton Law Firm                                                                                              Unsecured loan repayments
               One Pierce Place                                                                                                  Suppliers or vendors
                                                                                                                                 Services
               Suite 725W
                                                                                                                                 Other
               Itasca, IL 60143

       3.7.                                                                                                                      Secured debt
               Align                                                       May, June                        $16,534.00
               3926 Barron Street                                          and July 2023                                         Unsecured loan repayments
               Ste C204                                                                                                          Suppliers or vendors
                                                                                                                                 Services
               Metairie, LA 70002
                                                                                                                                 Other

       3.8.                                                                                                                      Secured debt
               Olymbec USA LLC                                             June 2023                          $7,595.00
               2400 Herodian Way                                                                                                 Unsecured loan repayments
               Suite 20                                                                                                          Suppliers or vendors
                                                                                                                                 Services
               Smyrna, GA 30080
                                                                                                                                 Other Rent

       3.9.                                                                                                                      Secured debt
               McKesson Corporation                                        May, June,                       $55,201.81
               6651 Gate Parkway                                           July 2023                                             Unsecured loan repayments
               Jacksonville, FL 32256                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 2

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                               Desc Main
                                                                     Document     Page 44 of 61
 Debtor       FT Medical Group LLC                                                                      Case number (if known)



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                            Dates               Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Nile B. Thompson                                              Jan- Sept                     $165,000.00           Distribution
               6067 Kingston Drive                                           2022
               Douglasville, GA 30135
               50% owner

       4.2.    Darryle Farrar                                                Jan-Sept                      $165,000.00           Distribution
               6112 Troon Way                                                2022
               Atlanta, GA 30135
               50% owner

       4.3.    Fred Young                                                    Jan-Sept                      $165,000.00           Compensation based on
               2128 Hammock Trail                                            2022                                                Company profit
               Hampton, GA 30228
               Chief Relations Officer

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    American Choice Capital vs FT                    Collection                 Supreme Court of the State of                  Pending
               Medical Group LLC, Nile                                                     NY- Kings County                               On appeal
               Thompson & Darryle Farrar                                                   360 Adams Street                               Concluded
                                                                                           Kings County Civic Center

                                                                                           Brooklyn, NY 11201

       7.2.    Blade Funding Inc vs FT                          Collection                 Supreme Court of State of                      Pending
               Medical Group LLC et all                                                    NY- Queens County                              On appeal
               709159/2023                                                                 25-10 Court Square                             Concluded
                                                                                           Long Island City, NY 11101

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 3

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
               Case 23-57910-lrc                    Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                                Desc Main
                                                                     Document     Page 45 of 61
 Debtor        FT Medical Group LLC                                                                        Case number (if known)



               Case title                                       Nature of case               Court or agency's name and                Status of case
               Case number                                                                   address
       7.3.    Healthrecon Connect LLC vs Ft                    Collection                   District Court, Dallas County                 Pending
               Molecular Diagnostics LLC                                                     Tx, 14th District                             On appeal
               DC-23-06179                                                                   600 Commerce, 1st Floor                       Concluded
                                                                                             Dallas, TX 75202

       7.4.    US Attorney's Office-NDGA                        Civil Investigation                                                        Pending
               2022-43-NDGA                                     Demand                       Atlanta, GA 30303                             On appeal
                                                                                                                                           Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                              Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss            Value of property
       how the loss occurred                                                                                                                                     lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address
       11.1.    The Falcone Law Firm
                363 Lawrence Street                                                                                            July, August
                Marietta, GA 30060                                                                                             2023                         $27,500.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 4

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                            Desc Main
                                                                     Document     Page 46 of 61
 Debtor      FT Medical Group LLC                                                                        Case number (if known)



    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers            Total amount or
                                                                                                                       were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

  Part 7:     Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services             If debtor provides
                                                                the debtor provides                                                      meals and housing,
                                                                                                                                         number of patients in
                                                                                                                                         debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                             Desc Main
                                                                     Document     Page 47 of 61
 Debtor      FT Medical Group LLC                                                                       Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or           Date account was           Last balance
              Address                                           account number            instrument                   closed, sold,          before closing or
                                                                                                                       moved, or                       transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Does debtor
                                                                      access to it                                                             still have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Does debtor
                                                                      access to it                                                             still have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                   Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                                Desc Main
                                                                     Document     Page 48 of 61
 Debtor      FT Medical Group LLC                                                                       Case number (if known)




       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Regina Page                                                                                                                2019-2021
                    CPA & Assoc
                    3915 Cascade Rd, Ste 200
                    Atlanta, GA 30331
       26a.2.       Maurice Stewart                                                                                                            2019-2021
                    Outsourced CFO Group
                    2302 Shadowood Parkway

                    Atlanta, GA 30339

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Regina Page
                    CPA & Assoc
                    3915 Cascade Rd, Ste 200
                    30331
       26c.2.       Maurice Stewart
                    Outsourced CFO Group
                    2302 Shadowood Pkwy
                    Atlanta, GA 30339

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 7

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                             Desc Main
                                                                     Document     Page 49 of 61
 Debtor      FT Medical Group LLC                                                                       Case number (if known)



              None

       Name and address
       26d.1.       Renasant Bank
                    3328 Peachtree Road
                    4th Floor
                    Atlanta, GA 30326
       26d.2.       BSD Capital dba Lendistry
                    1735 Flight Way
                    Suite 450.
                     San Clemente, CA 92762
       26d.3.       First Citizens Bank & Trust Co
                    PO Box 26592
                    Raleigh, NC 27611-6592

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Nile B. Thompson                              6067 Kingston Drive                                                                        50%
                                                     Douglasville, GA 30135

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Darryle Farrar                                6112 Troon Way                                                                             50%
                                                     Douglasville, GA 30135



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                   Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value
       30.1 Nile B. Thompson
       .    6067 Kingston Drive
                Douglasville, GA 30135                          $165,000                                                 Jan- Sept 2022     Distribution

                Relationship to debtor
                50% member



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
              Case 23-57910-lrc                     Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                             Desc Main
                                                                     Document     Page 50 of 61
 Debtor      FT Medical Group LLC                                                                       Case number (if known)



               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value
       30.2 Darryle Farrar
       .    6112 Troon Way
               Atlanta, GA 30135                                $165,000.00                                              Jan-Sept. 2022     Distribution

               Relationship to debtor
               50% member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund

 Part 14:     Signature and Declaration

       WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
       connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.

       I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.

       I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          August 18, 2023

 /s/    Darryle Farrar                                                    Darryle Farrar
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         COO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
             Case 23-57910-lrc                      Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59                             Desc Main
                                                                     Document     Page 51 of 61
                                                             United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      FT Medical Group LLC                                                                                     Case No.
                                                                                   Debtor(s)                         Chapter        11

                                                        LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                        Kind of Interest
 business of holder
 Darryle Farrar                                                                                                                 50%
 6112 Troon Way
 Douglasville, GA 30135

 Nile B. Thompson                                                                                                               50%
 6067 Kingston Drive
 Douglasville, GA 30135


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the COO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date       August 18, 2023                                                  Signature /s/ Darryle Farrar
                                                                                            Darryle Farrar

                      Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
              Case 23-57910-lrc                             Doc 1             Filed 08/18/23 Entered 08/18/23 09:04:59                                                Desc Main
                                                                              Document     Page 52 of 61
B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                                  Northern District of Georgia
 In re       FT Medical Group LLC                                                                                                                  Case No.
                                                                                                           Debtor(s)                               Chapter       11

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ....................................................................$                  27,500 (inlcudes filing fee)
             Prior to the filing of this statement I have received .......................................................
                                                                                                                        $                       27,500 (includes filing fee)
             Balance Due ...................................................................................................................$                          0.00

2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
          All fees will be billed to the Client or Bankruptcy Estate at the rate of $400.00 per hour in increments of 1/10th of an hour, or any such other
          amount as determined by the court. Paralegals at $175.00 per hour and administrative assistants at $75.00 per hour. All rates are billed in
          increments of 1/10th of an hour with minimum of 2/10th per hour for any task.
          All fees are subject to court approval and any fees incurred after the filing of client's peition will not be dispersed until such agreement is
          approved by the court. In no case will client be billed directly nor will any additional fees be collected from client unless expressly authorized
          by the court.
          Attorney may send bills to client from time to time to keep lcinet informed of time incurred. Attorney shall not seek any additional
          compensation directly from client unless expressly authorized by the Court.


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                                              CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     August 1, 2023                                                                                        /s/Ian M Falcone
     Date                                                                                                  Ian Falcone 254470
                                                                                                           Signature of Attorney
                                                                                                           The Falcone Law Firm, PC
                                                                                                           363 Lawrence St NE
                                                                                                           Marietta, GA 30060-2056
                                                                                                           (770) 426-9359 Fax:
                                                                                                           imf@falconefirm.com
                                                                                                           Name of law firm




Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                                             Best Case Bankruptcy
             Case 23-57910-lrc                      Doc 1            Filed 08/18/23 Entered 08/18/23 09:04:59        Desc Main
                                                                     Document     Page 53 of 61




                                                             United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      FT Medical Group LLC                                                                     Case No.
                                                                                    Debtor(s)        Chapter    11




                                              VERIFICATION OF CREDITOR MATRIX


I, the COO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:        August 18, 2023                                            /s/ Darryle Farrar
                                                                          Darryle Farrar/COO
                                                                         Signer/Title




Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy
Case 23-57910-lrc   Doc 1   Filed 08/18/23 Entered 08/18/23 09:04:59   Desc Main
                            Document     Page 54 of 61


                            ADP Totalsource
                            c/o Simpson Uchitel & Wilson
                            One Ameris Center, Ste 1100 3490 Piedmon
                            Atlanta, GA 30305


                            ADP-SBS
                            c/o Leviton Law Firm
                            One Pierce Place Suite 725W
                            Itasca, IL 60143


                            Ally Bank
                            PO Box 380901
                            Minneapolis, MN 55438


                            American Choice Capital LLC
                            1413 Ave J 3rd Floor
                            Brooklyn, NY 11230


                            American Express
                            PO Box 981535
                            El Paso, TX 79998


                            American Proficiency
                            1159 Business Park Drive
                            Traverse City, MI 49686


                            Arkstone
                            135 Rockaway Turnpike Ste 111
                            Lawrence, NY 11559


                            ASSN Company
                            PO Box 2575
                            Springfield, IL 62708


                            Beckman Coulter
                            Diagnostic Div Headquarters
                            250 S. Kraemel Blvd
                            Brea, CA 92821


                            Beckman Coulter
                            5350 Lakeview Parkway Suite A
                            Indianapolis, IN 46268


                            Berkovitch & Bouskila LLC
                            1545 US 202
                            Pomona, NY 10970


                            Biomedix Lab
                            3803 Parkwood Blvd Ste 400
                            Frisco, TX 75034


                            Blade Funding
                            211 Blvd of the Americas
                            Lakewood, NJ 08701
Case 23-57910-lrc   Doc 1   Filed 08/18/23 Entered 08/18/23 09:04:59   Desc Main
                            Document     Page 55 of 61


                            BSD Capital dba Lendistry
                            1735 Flight Way Suite 450.
                            San Clemente, CA 92762


                            BSD Capital Inc
                            dba Lendistry
                            777 S. Alameda St., 2nd Floor
                            Los Angeles, CA 90021


                            Carla Martin
                            6770 Buffington Rd Apt 301
                            Union City, GA 30291


                            Chaiken Ghali LLP
                            One Atlantic Center
                            1201 Peachtree Street Suite 2300
                            Atlanta, GA 30309


                            Choice Financial Inc
                            dba The Accounting Doctor
                            83 Wright Brothers Ave
                            Livermore, CA 94551


                            Cireese Benson
                            135 Weeping Willow Way
                            Tyrone, GA 30290


                            Cliniprops
                            2202 Fairburn Road
                            Douglasville, GA 30135


                            Cook Keith & Davis
                            ATTN Matt Jenkins
                            6688 North Central Expressway Suite 100
                            Dallas, TX 75206


                            CSC
                            801 Adlai Stevenson Drive
                            Springfield, IL 62703


                            CT Corp System
                            ATTN SPRS
                            330 N. Brand Blvd, Ste 700
                            Glendale, CA 91203


                            Darryle Farrar
                            6112 Troon Way
                            Douglasville, GA 30135


                            David Holcomb
                            900 Old Roswell Lakes Pkwy Ste 310
                            Roswell, GA 30076


                            Donna Werner
                            3069 Highway 138
                            Monroe, GA 30655
Case 23-57910-lrc   Doc 1   Filed 08/18/23 Entered 08/18/23 09:04:59   Desc Main
                            Document     Page 56 of 61


                            Ehjayson Henry
                            106 Barts Drive
                            Atlanta, GA 30309


                            Erica Gilerman, Esq
                            515 Madison Ave, Ste 8108
                            New York, NY 10022


                            First Citizens Bank & Trust Co
                            PO Box 26592
                            Raleigh, NC 27611-6592


                            First Corp Solutions
                            914 S. Street
                            Sacramento, CA 95811


                            Fonda Armstrong
                            3491 Cherry Blossom Court
                            Loganville, GA 30052


                            FT Molecular Diagnostics LLC
                            1001 Virgina Ave Ste 360
                            Atlanta, GA 30354


                            Gravity Auto Roswell
                            11170 Alpharetta HWY
                            Roswell, GA 30076


                            Healthrecon Connect LLC
                            550 Reserve Ste Suite 190 & 250 #21
                            Southlake, TX 76092


                            ID Tech Molecular
                            777 Cleveland Ave Ste 516
                            Atlanta, GA 30315


                            Iniobong Archibong
                            8419 Willows Way
                            Riverdale, GA 30274


                            Integra
                            22 Friars Drive
                            Hudson, NH 03051


                            Jant Pharmacal
                            16530 Ventura Blvd Ste 512
                            Encino, CA 91436


                            Kalmatta Capital
                            80 Broad Street Ste 1210
                            New York, NY 10004


                            Katie Deriso
                            Nelson Mullins Riley & Scarborough
                            201. 17th Street, Ste 1700
                            Atlanta, GA 30363
Case 23-57910-lrc   Doc 1   Filed 08/18/23 Entered 08/18/23 09:04:59   Desc Main
                            Document     Page 57 of 61


                            Kierra Benjamin
                            280 Franklin Farms Circle
                            Barnesville, GA 30204


                            Lab Corp
                            531 South Spring Street
                            Burlington, NC 27215


                            Lab Genius Inc
                            777 Cleveland Ave
                            Atlanta, GA 30315


                            LEAF
                            PO Box 5066
                            Hartford, CT 06102


                            Legal Partners Group Llc
                            134 North LasSalle Street Ste 800
                            Chicago, IL 60602


                            Lien Solutions
                            PO Box 29071
                            Glendale, CA 91209


                            Life Technologies
                            Lagunilla, Heredia
                            Building #3 Costa Rica


                            Life Technologies
                            12088 Collections Center Dr
                            Chicago, IL 60693


                            Life Technologies Corporation
                            c/o Howe Law Firm PC
                            4385 Kimball Bridge Rd, Ste 100
                            Alpharetta, GA 30022


                            LIMS ABC
                            500 East Broward Blvd Ste 1710
                            Fort Lauderdale, FL 33394


                            McKesson Corporation
                            6651 Gate Parkway
                            Jacksonville, FL 32256


                            McKesson inc
                            6555 State Highway 161
                            Irving, TX


                            Med Supply
                            33333 Dequindre Road
                            Troy, MI 48083


                            Mercedes Scientific
                            1221 Rangeland Pkwy
                            Lakewood, FL 34211
Case 23-57910-lrc   Doc 1   Filed 08/18/23 Entered 08/18/23 09:04:59   Desc Main
                            Document     Page 58 of 61


                            MGI Americas Inc
                            c/o Anne R Grupp, Esq
                            1418 Carne Road, Ste 200
                            Ojai, CA 93023


                            Microscope Service Incorp
                            260 Manning Road SW Unit 144
                            Marietta, GA 30064


                            MSN
                            5314 16th Ave Ste 139
                            Brooklyn, NY 11219


                            Myeiasha Weaver
                            3201 Downwood Circle
                            Atlanta, GA 30337


                            Natalie Miliam
                            2800 Camp Creek Parkway    JO8
                            College Park, GA 30037


                            Nile B. Thompson
                            6067 Kingston Drive
                            Douglasville, GA 30135


                            Nowaccount Network Corporation
                            800 Battery Ave Se Suite 100
                            Atlanta, GA 30339


                            Nyppon
                            PO Box 25951
                            Shawnee Mission, KS 66225


                            Olymbec
                            333 Decarie, 5th Floor
                            St. Laurent, Quebec Canada


                            Olymbec USA LLC
                            2400 Herodian Way Suite 20
                            Smyrna, GA 30080


                            Open Text
                            2440 Sand Hill Rd Suite 302
                            Menlo Park, CA 94025


                            Openloop Healthcare Partners
                            317 6th Ave Suite 400
                            Des Moines, IA 50309


                            Openloop Healthcare Partners PC
                            c/o The Kaplan Group 154 Addie Street
                            Pismo Beach, CA 93449


                            PaDreyia Wood
                            4694 Mason Road
                            South Fulton, GA 30349
Case 23-57910-lrc   Doc 1   Filed 08/18/23 Entered 08/18/23 09:04:59   Desc Main
                            Document     Page 59 of 61


                            Pharmozyne
                            1206 Mountain View-Alviso road Ste B
                            Sunnyvale, CA 94089


                            Pinnacle Credit Union
                            536 North Ave
                            Atlanta, GA 30308


                            Pinnacle Credit Union
                            PO Box 17649
                            Atlanta, GA 30316


                            PNC Bank
                            PO Box 747066
                            Pittsburg, PA


                            Priority Toxicology
                            6781 Londonderry Way
                            Union City, GA 30291


                            Promega
                            2800 Woods Hollow Rd
                            Madison, WI 53711


                            Randox
                            55 Diamond Rd
                            Crumlin, County Antrim, BT29 4QY United


                            Renasant Bank
                            3328 Peachtree Road 4th Floor
                            Atlanta, GA 30326


                            Safety Plus
                            PO Box 2549
                            Chattanooga, TN 37409


                            Scott Loden
                            1113 Wood Creek Trail
                            Roswell, GA 30076


                            Shadowbox
                            1596 North Coast Highway Ste 101
                            Encinitas, CA 92024


                            Southern Region Medical Center
                            11 Upper Riverdale Road
                            Riverdale, GA 30274


                            SRVH
                            150 3rd Ave South Suite 1100
                            Nashville, TN 37201


                            Staples Business Credit
                            POBox 105638
                            Atlanta, GA 30348
Case 23-57910-lrc   Doc 1   Filed 08/18/23 Entered 08/18/23 09:04:59   Desc Main
                            Document     Page 60 of 61


                            The Klein Law Firm LLC
                            PO Box 714
                            Lakewood, NJ 08701


                            Thermo Fisher Financial Services Inc
                            168 Third Ave
                            Waltham, MA 02451


                            Thomas Scientific
                            PO Box 99
                            Swedesboro, NJ 08085


                            Travisha Taylor
                            5843 Three Lakes Drive
                            College Park, GA 30349


                            TruMed
                            17250 Dallas Parkway Suite 244
                            Dallas, TX 75248


                            ULine
                            12575 ULine Drive
                            Pleasant Prairie, WI 53158


                            Ultra Funding
                            50 Merrick Road, Suite 203
                            Rockville Centre, NY 11570


                            Ultra Funding
                            1411 Carroll Street
                            Brooklyn, NY 11213


                            US Attorney's Office-NDGA
                            75 Ted Turner Drive #600
                            Atlanta, GA 30303


                            Wave HDC
                            180 Main Street Unit 47
                            Butler, NJ 07405
               Case 23-57910-lrc                         Doc 1         Filed 08/18/23 Entered 08/18/23 09:04:59              Desc Main
                                                                       Document     Page 61 of 61



                                                                     United States Bankruptcy Court
                                                                        Northern District of Georgia
  In re      FT Medical Group LLC                                                                            Case No.
                                                                                     Debtor(s)               Chapter    11




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for FT Medical Group LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class
of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  August 18, 2023                                                        /s/ Ian Falcone
 Date                                                                    Ian Falcone 254470
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for FT Medical Group LLC
                                                                         The Falcone Law Firm, PC
                                                                         363 Lawrence St NE
                                                                         Marietta, GA 30060-2056
                                                                         (770) 426-9359 Fax:
                                                                         imf@falconefirm.com




Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
